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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

 Angela Williams, et al.,                               Civil Action No. 3:20-cv-00865-MGL

                   Plaintiffs,
 vs.
                                                         STIPULATION OF DISMISSAL
 Ford Motor Company,

                   Defendant.

        IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety with prejudice and without costs to any party. The Court will

retain jurisdiction to enforce the terms of the settlement agreement.

For Plaintiffs:                                        For Defendant:


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Dated: September 25, 2020




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